                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                 CRIMINAL NO. 1:04CR74-3


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               VS.                            )              ORDER
                                              )
                                              )
FRANKIE LEE GREER                             )
                                              )


       THIS MATTER is before the Court on the Defendant’s motion to reconsider the denial

of bond pending sentencing.

       Defendant claims that he has secured proof that a prior felony drug conviction was

voluntarily dismissed. Thus, instead of facing a mandatory minimum sentence of 20 years

imprisonment for his guilty plea to the charge of conspiracy to possess with intent to distribute

1.5 kilograms of methamphetamine, he now faces a mandatory minimum sentence of 10 years.

And, he has made a proffer to the Government which may result in a motion for a downward

departure.

       Neither of these circumstances changes the statutory mandate that a defendant who has

admitted guilt to the charge at hand shall be detained pending sentencing unless one of three

situations exists. None of those situations exist and the Defendant shall remain in custody.

       IT IS, THEREFORE, ORDERED that the Defendant’s motion to reconsider is hereby

DENIED.




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                       Signed: August 23, 2005




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